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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

 IN RE: ZANTAC (RANITIDINE)                                                          MDL NO 2924
 PRODUCTS LIABILITY                                                                   20-MD-2924

                                                           JUDGE ROBIN L ROSENBERG
                                                   MAGISTRATE JUDGE BRUCE REINHART


                                               /

 THIS DOCUMENT RELATES TO:                                           JURY TRIAL DEMANDED

 ELIZABETH ENGLAND


 (Plaintiff Name(s))

                         SHORT FORM COMPLAINT – VERSION 3

        The Plaintiff(s) named below, by counsel, file(s) this Short Form Complaint against

 Defendants named below. Plaintiff(s) incorporate(s) by reference the allegations contained in the

 Second Amended Master Personal Injury Complaint (“SAMPIC”) in In re: Zantac (Ranitidine)

 Products Liability Litigation, MDL No. 2924 (S.D. Fla). Plaintiff(s) file(s) this Short-Form

 Complaint – Version 3 as permitted by permitted by the Court’s Orders regarding motions to

 dismiss and specifically DE 3751 at 1, as outlined on page 1 of the SAMPIC.

        Plaintiff(s) select(s) and indicate(s) by completing where requested, the Parties and Causes

 of Actions specific to this case. Where certain claims require additional pleading or case specific

 facts and individual information, Plaintiff(s) shall add and include them herein.

        Plaintiff(s), by counsel, alleges as follows:




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                       I.     PARTIES, JURISDICTION, AND VENUE

 A.     PLAINTIFF(S)
        1.      Plaintiff(s) Elizabeth England
                (“Plaintiff(s)”) brings this action (check the applicable designation):

                ☒      On behalf of [himself/herself];

                ☐      In representative capacity as the ___________________________, on
                       behalf of the injured party, (Injured Party’s Name)             .

        2.      Injured Party is currently a resident and city of (City, State) Fort Walton Beach,
                Florida and claims damages as set forth below.
                                                   —OR—
                Decedent died on (Month, Day Year) _____________________. At the time of
                Decedent’s death, Decedent was a resident and citizen of (City, State)
                ___________________.
 If any party claims loss consortium,
        3.      Chris England           (“Consortium Plaintiff”) alleges damages for loss of

                consortium.

        4.      At the time of the filing of this Short Form Complaint, Consortium Plaintiff is a

                citizen and resident of (City, State) Fort Walton Beach, Florida      .

        5.      At the time the alleged injury occurred, Consortium Plaintiff resided in (City, State)

                Santa Rosa Beach, Florida      .

 B.     DEFENDANT(S)
        6.      Plaintiff(s) name(s) the following Defendants from the Second Amended Master
                Personal Injury Complaint in this action:

                a.     Brand-Name Manufacturers:
                       Boehringer Ingelheim Pharmaceuticals, Inc; Boehringer Ingelheim
                       Corporation; Boehringer Ingelheim USA Corporation; Boehringer
                       Ingelheim International GmbH; Boehringer Ingelheim Promeco, S.A. de
                       C.V.; Sanofi-Aventis U.S. LLC; Sanofi US Services Inc.; Sanofi S.A.


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                       b. Others Not Named in the SAMPIC:

 C.        JURISDICTION AND VENUE
           7.     Identify the Federal District Court in which Plaintiff(s) would have filed this action
                  in the absence of Pretrial Order No. 11 (direct filing) [or, if applicable, the District
                  Court to which their original action was removed]:

                  Northern        District of Florida    .

           8.     Jurisdiction is proper upon diversity of citizenship.
                                        II.     PRODUCT USE

           9.     The Injured Party used Zantac and/or generic ranitidine: [Check all that apply]
                  ☐       By prescription

                  ☒       Over the counter
           10.     The Injured Party used Zantac and/or generic ranitidine from approximately
                  (month, year) January 2008 to December 2019.
                                     III.     PHYSICAL INJURY

           11.    As a result of the Injured Party’s use of the medications specified above, [he/she]
                  was diagnosed with the following specific type of cancer (check all that apply):
      Check all that                   Cancer Type                           Approximate Date of
         apply                                                                   Diagnosis
          ☐            BLADDER CANCER
          ☒            BREAST CANCER                                            March 3, 2015
          ☐            COLORECTAL/INTESTINAL CANCER
          ☐            ESOPHAGEL CANCER
          ☐            GASTRIC CANCER
          ☐            KIDNEY CANCER
          ☐            LIVER CANCER
          ☐            LUNG CANCER
          ☐            PANCREATIC CANCER
          ☐            PROSTATE CANCER
          ☐            OTHER CANCER:
          ☐            DEATH (CAUSED BY CANCER)


           12.    Defendants, by their actions or inactions, proximately caused the injuries to
                  Plaintiff(s).

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        ☒         VIII    Negligent Product Containers2                           All States and
                                                                                  Territories
        ☒         IX      Negligent Storage and Transportation                    All States and
                                                                                  Territories
        ☒          X      Unjust Enrichment (Against All Defendants)              All States and
                                                                                  Territories
        ☒         XI      Loss of Consortium (Against All Defendants)             All States and
                                                                                  Territories
        ☐         XII     Survival Actions                                        All States and
                                                                                  Territories
        ☐         XIII    Wrongful Death                                          All States and
                                                                                  Territories


                                          V.     JURY DEMAND

            15.    Plaintiff(s) hereby demand(s) a trial by jury as to all claims in this action.
                                    VI.        PRAYER FOR RELIEF

             WHEREFORE, Plaintiff(s) has/have been damaged as a result of Defendants’ actions

     orinactions and demand(s) judgment against Defendants on each of the above-referenced causes

     of action, jointly and severally to the full extent available in law or equity, as requested in the

     SecondAmended Master Personal Injury Complaint.

            Dated: September 21, 2021                     /s/ Sarah Sterling Aldridge
                                                          John W. ("Don") Barrett
                                                          Katherine Barrett Riley
                                                          Sarah Sterling Aldridge
                                                          404 Court Square
                                                          P.O. Box 927
                                                          North Lexington, MS 39095
                                                          Phone: (662) 834-2488
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                                                          Email: donbarrettpa@gmail.com
                                                                  kbriley@barrettlawgroup.com
                                                                  saldridge@barrettlawgroup.com




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   This Count applies only to pills, not ranitidine-containing products in the form of syrups of
 injections.
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